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                                         EXHIBIT C

                                       LLC Amendment




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                              FOURTH AMENDMENT
                                       TO
                    LIMITED LIABILITY COMPANY AGREEMENT
                                       OF
                    ADVANCED REFINING TECHNOLOGIES LLC


   THIS FOURTH AMENDMENT ("Amendment") TO LIMITED LIABILITY
COMPANY AGREEMENT is made as of November 30, 2009, by and between
CHEVRON PRODUCTS COMPANY, a division of Chevron U.S.A. Inc., a Pennsylvania
corporation ("Chevron"), and W. R. GRACE & CO.-CONN., a Connecticut corporation,
acting by and through its business unit Grace Davison ("Davison").

      WHEREAS, Chevron and Davison (collectively, the "Members") entered into a
Limited Liability Company Agreement, effective March 1, 2001, as heretofore amended
by an agreement entitled "First Amendment to Limited Liability Company Agreement of
Advanced Refining Technologies LLC" dated November 12, 2001, by a second
agreement entitled "Second Amendment to Limited Liability Company Agreement of
Advanced Refining Technologies LLC" dated February 4, 2004, and by a third
agreement erroneously entitled "Second Amendment to Limited Liabilty Company
Agreement of Advanced Refining Technologies LLC" dated November 2, 2006
(hereinafter collectively referred to as the "LLC Agreement"); and

      WHEREAS, the Members wish further to amend the LLC Agreement.

       NOW, THEREFORE, the Members hereby agree as follows:


       1. Capitalized terms used but not defined in this Amendment are used with
the definitions given them in the LLC Agreement.

      2. The Members hereby acknowledge that as agreed by Unanimous Vote,
Davison is permitted to sell to Chevron a portion of its Company Interest equal to 5% of
the total issued and outstanding Company Interests of the Members (the "Purchased
Interest").

       3. Effective upon the transfer of the Purchased Interest to Chevron, Exhibit A
of the LLC Agreement shall be automatically amended to read as set forth in Exhibit A
attached hereto.

      4. (a) The definition of Advanced Refining Technologies LP or ART LP
in Section 1.1 of the LLC Agreement is hereby deleted in its entirety.

              (b) The definition of ART Gmbh Dividends in Section 1.1 of the LLC
Agreement is hereby amended to read as follows:



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                     "ART Gmbh Dividends" means a dividend (as defined in Article
              10, paragraph 4 of the US-Germany Tax Treaty) paid by Advanced
              Refining Technologies GmbH to the Company.

              (c) Section 1.1 of the LLC Agreement is hereby amended to add the
following definitions in alphabetical order:

                     "Additional Intellectual Property" shall have the meaning set
              forth in Section 13.5(e).

                     "Directors" shall have the meaning such forth in Section 7.9(f).

       5. Section 7.2 of the LLC Agreement is hereby amended to add at the end
thereof the following additional sentence:

              The Chairman of the Executive Committee (the "Chairman") shall be one
              of the Representatives. For the calendar year 2009 the Chairman shall be
              Gregory E. Poling or a substitute appointed by Davison. For the calendar
              year 2010 the Chairman shall be a Chevron Representative as appointed
              by Chevron. In subsequent odd-numbered calendar years the Chairman
              shall be a Davison Representative appointed by Davison, and in
              subsequent even-numbered calendar years the Chairman shall be a
              Chevron Representative appointed by Chevron.

       6.     Section 7.9(b) of the LLC Agreement is hereby amended to read as
follows:

                     (b) Titles and Number. The elected Officers shall be the
              Managing Director, the Deputy Managing Director, the Secretary and
              Assistant Secretaries, the Director of Marketing, the Director of Supply,
              the Director of R&D, the Chief Financial Offcer, and the Treasurer and
              Assistant Treasurers. There may be elected from time to time, in
              accordance with Section 7.9(c), such additional Offices as the Executive
              Committee may desire.

       7. Section 7.9(d) is hereby deleted in its entirety, Section 7.9(e) is hereby
renamed Section 7.9(d), and a new Section 7.9(e) is hereby inserted to read as follows:

                     (e) Deputv Manaqinq Director. The Deputy Managing Director
              shall assist the Managing Director in implementing the business plan and
              strategies approved by the Executive Committee, and perform all duties
              incident to such offce and such other duties as may, from time to time, be
              assigned to him by the Executive Committee or the Managing Director.
              The Deputy Managing Director may also hold one or more other Officer or
              other positions in the Company. If the Managing Director is an employee


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              of or otherwise associated or identified with one of the Members, the
              Deputy Managing Director shall be a nominee of the other Member. In the
              absence of the Managing Director, the Deputy Managing Director shall
              have all of the powers and duties conferred upon the Managing Director
              that the Managing Director delegates (orally or in writing) to the Deputy
              Managing Director for performance during such absence.

       8. The first sentence of Section 7.9(f) is hereby amended to read as follows:


                    (f) Directors. In the absence of the Managing Director and the
              Deputy Managing Director, the Officers whose tites include the term
              "Director' (the "Directors'? and that are designated by the Executive
              Committee shall, except as hereinafter provided, have all of the powers
              and duties conferred upon the Managing Director.

       9. In Section 7.9(g), (h) and (i), the phrase "assigned to him by the Executive
Committee, the Chairman or the Managing Directot' is hereby amended to read
"assigned to him by the Executive Committee, the Managing Director or the Deputy
Managing Director".

       1 O. Section 8.8 of the LLC Agreement is hereby amended to read as follows:

              8.8 Transfer.

                      (a) If any Company Interest or part thereof is sold, assigned or
              transferred during any accounting period, Tax Profits, Tax Losses, each
              item thereof and all other items attributable to the transferred interest for
              such period shall be divided and allocated between the transferor and the
              transferee by taking into account their varying interests during the period
              in accordance with Code Section 706(d), using any conventions permitted
              by law and selected by the Executive Committee.

                      (b) All distributions made after the date of such transfer with
              respect to such transferred interest shall be allocated between the
              transferor and the transferee in proportion to the number of days in the
              period for which the distribution was made that each held the transferred
              interest.

       11. Section 9.2(a)(ii) of the LLC Agreement is hereby amended by increasing
the Minimum Working Capital Requirements or MWCR to $60 millon.

       12. (a) Section 9.1 (a)(vi) of the LLC Agreement is hereby amended in its
entirety to read as follows:

              (vi) Any foreign taxes imposed on income or gain of any subsidiary of
                      the Company that give rise to foreign tax credits under Code


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                      Section 902 as a result of a dividend (as defined in the relevant tax
                      treaty) paid by such subsidiary to the Company (and the related
                      Section 78 gross up) shall be allocated to the Members in
                      proportion to their respective Company Interests at the time the tax
                      credit arises as a pass-through item to the Members of the
                      Company.

              (b) Effective upon the transfer of the shares of Advanced Refining
Technologies GmbH from the Company to the Members, Section 9.1 (a)(iii) and (iv) and
all definitions in Section 1.1 of the LLC Agreement that apply only to said Section
9.1 (a)(iii) and (iv), automatically shall be deleted and of no further force and effect.

       13. Section 10.3 of the LLC Agreement is hereby amended in its entirety to
read as follows:

              10.3 Tax Returns. The Tax Matters Member, on behalf of the
              Company, shall timely fie, or shall cause to be filed, a complete and
              accurate version of all federal, state, local and foreign tax returns required
              to be filed by Company and its Affiliates. Each Member shall furnish to the
              Company upon the prior written request of the Tax Matters Member all
              pertinent information in its possession relating to the Company's and its
              Affilates' operations that is necessary to enable such tax returns to be
              timely prepared and filed. Federal and state income tax returns wil be
              prepared at the direction of the Members by either (i) a nationally
              recognized, independent accounting firm selected by the Members or (ii)
              the Tax Matters Member. if the Tax Matters Member prepares the U.S.
              federal and state tax returns, the other Members shall have the right to
              review such returns at least 30 days prior to the earlier of the actual fiing
              or the tax return extended due date as prescribed by law. The Tax
              Matters Member wil submit a draft of the returns to the other Members at
              least thirty (30) days prior to the filng of any return and, in the case of the
              federal partnership return, in no event later than June 30 of the year in
              which the return is due. if upon review, the other Members reasonably
              believe that the Tax Matters Member has not prepared a complete and
              accurate return, then the other Members shall notify the Tax Matters
              Member within 20 days of receipt of such return and the Tax Matters
              Member shall revise the return to ensure that the tax filng is timely,
              complete and accurate. The Tax Matters Member wil fie all tax returns
              on behalf of the Company. Reasonable expenses of the Tax Matters
              Member incurred in carrying out these duties shall be promptly reimbursed
              by the Company.

       14. Section 10.4 of the LLC Agreement is hereby amended to add clause (ix)
thereto to read as follows:




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              (ix) to calculate the Research and Development tax credit using a
                             methodology applicable under the law that results in the maximum
                             available tax credit (in aggregate) to all Members.

       15. Section 10.5(e) of the LLC Agreement is hereby amended in its entirety to
read as follows:

                             (e) Furnishina Information. The Members shall furnish the
              Tax Matters Member within 30 days from the receipt of the request with
              such information (including information specifed in Code Sections 6230(e)
              and 6050K) as the Tax Matters Member may reasonably request to permit
              it to provide the Internal Revenue Service with suffcient information for
              purposes of Code Sections 6230(e) and 6050K.

       16. Section 13.5 of the LLC Agreement is hereby amended to add Section
13.5(e) thereto to read as follows:

                             (e) With respect to any intellectual property (other than
              trademarks) and technology owned by or licensed to the Company at the
              time of dissolution and not provided for in Section 13.5(a) through (d)
              ("Additional
                                    Intellectual Property"), the following provisions shall apply:
              (i) Additional        Intellectual Property that is owned by the Company shall be
              transferred into joint ownership by the Members; and (ii) the Members
              shall use their reasonable best efforts to cause the Company's rights
              under licensed Additional Intellectual Propert to be assigned jointly to the
              Members, or if such assignment cannot be obtained, then (to the extent
              permissible under applicable law and the terms of the licenses) enter into
              reasonable arrangements to provide both Members with the benefits of
              such licensed Additional         Intellectual Property.

     17. The provisions of Sections 17.1, 17.3, 17.4, 17.5, 17.9 and 17.10 of the
LLC Agreement shall apply to this Amendment, except that references therein to "this
Agreement" shall be deemed to refer to this Amendment.

       18. Nothing in the LLC Agreement shall prevent the amendment and
modification of any of the exhibits and schedules attached thereto or referred to therein.

       19. Except as modified by this Amendment, all the provisions of the LLC
Agreement shall remain in full force and effect.




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       IN WITNESS WHEREOF, the Members have executed as of the date first set
forth above, two copies of this Amendment, one such copy to be retained by each.


CHEVRON PRODUCTS COMPANY                w. R. GRACE & CO.-CONN.
A Division of Chevron U.S.A. Inc.


By:                                      By:
Name:                                    Name:
Title:                                  Title:




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